       Case 2:03-cr-00376-DLJ Document 33 Filed 07/18/05 Page 1 of 2

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 5   Attorneys for Defendant                            OK/HAV
     FRANCES MORADA
 6

 7

 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                            EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      CASE NO. S-03-376-DFL

12                                                  STIPULATION AND PROPOSED
                 Plaintiff,                         ORDER REGARDING STATUS
13                                                  CONFERENCE CONTINUANCE
           vs.
14
     FRANCES MORADA,
15   LILY MIZRAHE

16               Defendants.
                                            /
17
           Defendant Frances Morada, through her counsel of record, Malcolm Segal
18
     and Defendant Lily Mizrahe, through her counsel of record, Bruce Locke, and plaintiff
19
     United States of America, through its counsel, Assistant United States Attorney
20
     Daniel S. Linhardt, agree and stipulate that the status conference set for July 14,
21
     2005 may be continued to September 15, 2005 at 10:00 AM, in order to permit the
22
     parties to further investigate, review and discuss the case regarding future
23
     proceedings. This case continues to be complex within the meaning of the Speedy
24
     Trial Act due to the volume of discovery, complexity of the legal and factual issues,
25
     and the need of counsel to conduct independent investigations.
26
           Accordingly, the time between the scheduled court appearance on July 14,
27
     2005 and the status conference on September 15, 2005 should continue to be
28

                                                1
       Case 2:03-cr-00376-DLJ Document 33 Filed 07/18/05 Page 2 of 2

 1   excluded from the calculation of time pursuant to the Speedy Trial Act, due to

 2   complexity and counsels’ need to prepare. 18 U.S.C. §3161 (h) (8) (B) (ii) and (iv)

 3   [Local Codes T2/T4].

 4

 5   Dated: July 11, 2005               SEGAL & KIRBY

 6

 7
                                           By: /s/ Malcolm S. Segal
 8                                            MALCOLM S. SEGAL
                                              Counsel for Defendant Frances Morada
 9

10

11   Dated: July 11, 2005               MOSS & LOCKE

12

13

14                                         By:_ /s/ Bruce Locke_____________________
                                              BRUCE LOCKE
15                                            Counsel for Defendant Lily Mizrahe

16

17
     Dated: July 11, 2005
18

19                                         By:_ /s/ Daniel S. Linhardt   ____________
                                              DANIEL S. LINHARDT
20                                            Assistant United States Attorney

21

22   IT IS SO ORDERED.

23
     Dated: 7/15/2005
24

25

26
                                                   DAVID F. LEVI
27                                                 Chief United States District Judge
28

                                               2
